               Case 22-17715-EPK          Doc 52    Filed 02/17/23    Page 1 of 2




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  www.flsb.uscourts.gov

IN RE:                                                      CASE NO.: 22-17715-EPK
                                                            Chapter 13
BRENT GORDON TONNESSEN
AND ANDREA MUNOZ
TONNESSEN,

         Debtors.                     /
 AGREED MOTION TO EXTEND OBJECTION TO DISCHARGEABILITY DEADLINE
         Creditors The Estate of Warren Booker, Brittany Booker, and Amy Booker, by and

through the undersigned attorney, and by agreement of the Debtors, hereby file this Motion to

Extend Objection to Discharability Deadline, and states as follows:

         1.     On October 6, 2022, the Court filed a Certificate of Notice which set the deadline

for Creditors to object to the dischargeability of debt of the Debtors on January 17, 2022.

         2.     The above mentioned Creditors filed a 2004 Notice of Examination Duces Tecum

on December 29, 2022.

         3.     Debtors informed undersigned Counsel that they would not be able to produce

all of the requested documents before the examination.

         4.     Creditors agreed to move the date of the examination contingent upon the

Debtors stipulation to move the deadline to object to dischareability until 20 days after the

conclusion of the 2004 Examination.

         WHEREFORE, the above mentioned Creditors respectfully request that the Court extend

the deadline to object to the dischargeability of debt to 20 days after the conclusion of the

2004 Examination yet to be scheduled.
              Case 22-17715-EPK       Doc 52     Filed 02/17/23    Page 2 of 2




                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was served via CM/ECF to Dana

Kaplan, Esq. on behalf of Debtors Brent Gordon Tonnessen and Andrea Tonnessen at

dana@kelleylawoffice.com, and to the Office of the US Trustee at

USTPRegion21.MM.ECF@usdoj.gov, on this 12th day of January, 2022.

                                                  The Law Office of Joseph Grant, P.A.
                                                  Attorney for:
                                                         The Estate of Warren Booker
                                                         Brittany Booker
                                                         Amy Booker
                                                  2744 Hillsboro Road
                                                  WPB, Florida 33405
                                                  Telephone: 850-524-2280

                                                  By:     /s/Joseph Grant
                                                  Joseph Grant, Esq.
                                                  Florida Bar No. 97315
                                                  joseph@josephgrantlaw.com
